    Case 19-28245                 Doc 486-2 Filed 11/03/21 Entered 11/03/21 09:37:05                                               Desc
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